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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                             CASE NO. 10-20528-CIV-ALTONAGA

  FUSILAMP, LLC, et al.,

         Plaintiffs,
  v.

  LITTELFUSE, INC., et al.,

        Defendants.
  ____________________________/

                                              ORDER

         THIS CAUSE came before the Court on Defendant, Littelfuse, Inc.’s Motion to Lift Stay

  [ECF No. 107], filed June 26, 2017. Defendant requests the Court lift the Stay [ECF No. 103],

  entered September 9, 2010, and dismiss the action in light of the Supreme Court’s May 22, 2017

  decision in TC Heartland LLC v. Kraft Foods Grp. Brands LLC, No. 16-341, 2017 WL 2216934

  (U.S. May 22, 2017). (See Mot. 1).

         Local Rule 7.1(a)(3) of the United States District Court for the Southern District of

  Florida provides:

         Prior to filing any motion in a civil case, . . . counsel for the movant shall confer
         (orally or in writing), or make reasonable effort to confer (orally or in writing),
         with all parties or non-parties who may be affected by the relief sought in the
         motion in a good faith effort to resolve by agreement the issues to be raised in the
         motion. . . . At the end of the motion, and above the signature block, counsel for
         the moving party shall certify [in accordance herewith.]

  S.D. FLA. L.R. 7.1(a)(3) (alterations and emphasis added). The Rule further states “[f]ailure to

  comply . . . may be cause for the Court to grant or deny the motion and impose on counsel an

  appropriate sanction . . . .” Id. (alterations added). Defendant’s counsel has not certified he

  conferred or made reasonable efforts to confer with Plaintiff with regard to the respect to the

  Court lift the stay, in accordance with Local Rule 7.1(a)(3). (See generally Mot.).
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                                                 CASE NO. 10-20528-CIV-ALTONAGA


        Accordingly, it is ORDERED AND ADJUDGED that the Motion [ECF No. 107] is

  DENIED without prejudice.

        DONE AND ORDERED in Miami, Florida, this 27th day of June, 2017.



                                                 __________________________________
                                                 CECILIA M. ALTONAGA
                                                 UNITED STATES DISTRICT JUDGE

  cc:   counsel of record




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